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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                         October 06, 2020
                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk

                          GALVESTON DIVISION

TROY OWEN,                              §
                                        §
        Plaintiff,                      §
VS.                                     §   3:19-CV-161
                                        §
FEDERAL CROP INSURANCE                  §
CORPORATION, et al,                     §
                                        §
        Defendants.                     §
                                        §

                ORDER ADOPTING MAGISTRATE JUDGE’S
                MEMORANDUM AND RECOMMENDATION

       On February 13, 2020, this case was referred to United States Magistrate

Judge Andrew M. Edison. Dkt. 24. Judge Edison considered the plaintiff’s motion

for summary judgment (Dkt. 21) and the defendants’ cross motion for summary

judgment (Dkt. 23). On July 27, 2020, Judge Edison filed a memorandum and

recommendation (Dkt. 28) recommending that the plaintiff’s motion for summary

judgment (Dkt. 21) be granted and the defendants’ cross motion for summary

judgment (Dkt. 23) be denied.

       On August 10, 2020, the defendants filed their objections.        Dkt. 29.

Accordingly, the court reviews de novo “those portions of the [magistrate judge’s]

report or specified proposed findings or recommendations to which objection [has

been] made.” 28 U.S.C. § 636(b)(1)(C). After conducting this de novo review, the

court may “accept, reject, or modify, in whole or in part, the findings or
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recommendations made by the magistrate judge.” Id.; see also FED. R. CIV. P.

72(b)(3).

      The court has carefully considered the defendants’ objections, the

memorandum and recommendation, the pleadings, and the record. The court

accepts Judge Edison’s memorandum and recommendation and adopts it as the

opinion of the court. Accordingly, the court:

      (1)   approves and adopts Judge Edison’s memorandum and
            recommendation (Dkt. 28) in its entirety as the holding of the court;

      (2)   grants the plaintiff’s motion for summary judgment (Dkt. 21); and

      (3)   denies the defendants’ cross motion for summary judgment (Dkt. 23).


            Signed on Galveston Island on this, the 6th day of October, 2020.



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                                           JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE




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